Ao

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Attorney for Defendant
BENJAMIN WOOD

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

NICOLE GREENE, an individual,

Plaintiff, Case No. 2:20-cv-00818-JAD-NJK

vs. INDEX OF EXHIBITS

BENJAMIN WOOD, an individual; and
FRONTIER AIRLINES, INC., a Foreign
Corporation; DOES 1 through 20,
inclusive; ROE CORPORATIONS, 1
through 20, inclusive;

Defendants.

Exhibit Looe eee eeeeeeeeeeeeeeeeeeceeeseeeaeesaeeaeeeeesaeesecsaeeseeeeceeeseesaecnesseeeeesseeeeeseateeeesaes Text Messages
Bxhibit 2) sccm ree: Frontier Airlines Flight Itinerary

Exhibit 3 oo... cc escesssesseesecesssscsesssseeseaeesssessssessseecseseceeeeseeeatesereeses Rule 11 Letter dated May 8, 2020

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